                                          3              11             C              K
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                                          4             12              D              L
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                                          5                                            M
    1                          May 10, 2021            13               E
    2             (In open court at 2:26 p.m.)

                 MR. MAHER:    Judge, could I have access to the record?
                                                                                       N
    3

    4            THE COURT:               6             14
                               I'll hear from Mr. M.;1her who's here on F
    5    behalf of the Government.
                               Your Honor, I'm flummoxed -- I 1 m sorry.
                                                                                       O
    6            MR. MAHER:
    7
                                         7
                 Your Honor, I'm flummoxed~             15
                                                   I just checked the   G
    8    Marshalsl Office., and no one is back there.         Court security

    9
                                         8             16             H
         gave me an abil;Lty to inspect and make sure no one was hurt or
                                                                                       P
   10    something back there.        I couldn't find any'pody back there.     I

   11    don't know where anybody .is.

   12            THE COURT:    I assume that they didn't talk to you about

   13    this?

   14            MR. MAHER:    ·No.    No, and I left my cell phone across

   15    the street in my office right across -- I can go check it.            I

   16    haven't talked to anybody about court not appearing today.

   17             We obviously had one in custody at 12:30 and I expected

   18    to conduct the rest of the hearings today anc:1 tomorrow ..

   19             THE COURT:   Yeah, Mr. Smith, I'm sure is in custody.

   20    Travi$ Weasel may be.        Maybe not the last one on a Social

   21    Security deal.
   22             MR. MAHER:   Ms. Hoffman is here to conduct the Holley

   23    case at 4 q'cloc:k.   I believe Juan Smith, Christopher Plenty

   24    Chief, and Travis Weasel are all in custody.
   25             THE COURT:   All right.      I guess they're looking for a



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    1    cqnf-1'.,",ontation,

    2               THE CLERK:     I 1 ll call Chief Houghtaling.

    3               THE COURT:     Yeah, let's put him into the -- right into

    4    the courtroom her<;;:.

    5               THE, CLERK:.   Okay.   Judge, I 1 m going to get a phone

    6    number.
    7               THE COURT:     Mr. Turner, the Marshals Service has taken

    8    the defendants away.

    9               MR. TURNER;     That•s what I heard,    I went in to see my

   10    client and they said they're gone.         I said, huh?

   11               We still do have Marilyn Holley who came up from Texas

   12    so -- and Annie is here for that.         I could use some time to get

   13    ready for that; but we'll be ready to go.          But we can certainly

   14    do that be,fore 4.

   15               THE COURT:     Yes, sir, Mr. Maher"

   16               MR. MAHER:     Your Honor, rrm here all day and I'm also

   17    here tomorrow and as long it takes us to figure this mess out,
   18    I'm here.

   19               THE COURT:     They may not bring any prisoners here

   20    tomor~ow for the meeting -- for the hearings.

   21               MR. TURNER:     Well, we -- the problem v1ith moving any of

   22    these today to tomorrow, we've got a full court dockets in

   23    Aberdeen (sic), that's why I'm covering everything here today,
   24    but we'll certainly do what we can do to get somebody up here

   25    to cQver the hearings.



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    1             MR. MAHER:    And I'll stay the night, whatever works for

    2    you guys.

    3             MR. TURNER:    You were planning to stay the night

    4    anyway

    5             MR. MAHER:    I 1 ll do whatever we need to do.

    6             MR. TURNER:       I'll let everybody back ir+ Aberdeen know

    7    so if you want to move those to tomorrow, I'll see if I ~an --

    8    we have someone available to come up and cover those, if that's

    9    what you want me to do.

   10             THE COURT:    Well, we're going to hear from Steve

   11    Houghtaling here first.

   12             MR. TURNER:     Okay.

   13             MR. MAHER:    Randy, will you tell Annie we might be

   14    moving that case up.

   15             MR. TURNER:     She -- she and I have already talked about

   16    it.

   17             MR. MAHER:     Okay.    Thank you.

   18             (Disc1,1ssion off the record.        Phone call to Chief Deputy

   19    United States Marshal Steve Houghtaling made.)

   20             THE CLERK:     Steve?

   21             CHIEF DEPUTY HOUGHTALING:       Yes.

   22             THE CLERK:     We're in the courtroom right now with the

   23    parties present.      Judge Kornmann is h..ere.

   24             CHIEF DEPUTY HOUGHTALING:       Hi, Judge.     Good afternoon.

   25             THE COURT:     Yes, hi.



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    1             Did you order the marshals to remove the priaonera           w~o
    2    were here pursuant to a court order?

    3             CHIEF DEPUTY HOUGHl'ALING!        Your Honor, with the
    4    exclusion of our deputy from the courtroom, we cannot safely

    5    provide the level of :security    WE;!   need f6r -.- to proceed with

     6   court proceedings..    Our policy requires deputy marshals ir1 the

    7    courtroom.     And I cannot achieve that without -- without

    8    deputies physically being i:n the courtroom during court

    9    proceedings.

   10             THE COURT:    You had a deputy here who was fully

   11    vaccinated so I don't 1:;>elieve that statement.

   12             CHIEF DEPUTY HOUGHTALING:         I don't know his vaccination

   13    status for sure, Judge.     All I 'know is our deputy, I was

   14    informed, was told to leave the courtroom.

   15             THE COURT:    That•s correct.

   16             CHIEF DEPUTY HOUGHTALING:         So with that, Judge, we need

   17    to be able to have deputies perform the court security

   .18   function .

   19             THE· COURT:   You had a deputy here.       And he was in the

   20    courtroom and handled the hearing.
   21             CHIEF DEPUTY HOUGHTALING:         Are you referring to Mr.

   22    Kolb by chance?     Scott Kolb?

   23             THE COURT:    I don't know his name, I'm sorry.
   24             THE CLERK:    Steve, I believe the reference is to the
   25    what I'm going to call as the guard that the Marshals Service



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    1    uses up here.

    2             CHIEF DEPUTY HOUGHTALING:       Yep.   So, Jucige, Mr. Kolb is

    3    a part-time employee of ours.      You have probably seen him for
    4    some time -- he has worked with     us   :for years and years -- as

    5    long as I've been in the District.        But he alone does not meet

    6    our national policy to staff court proceedings.         We can have

    7    the deputy marshal in addition to Mr~ Kolb, but we cannot just

    8    have Mr. Kolb staffing a court proceeding with no deputy

    9    marshals, Your Honor.

   10             THE COURT;     Let me ask you this.     Did you make the

   11    decision to order them to remove the prisoners?

   12             CHIEF DEPUTY HOUGHTALING:       The Marshals Service made

   13    the decision, Your Honor, yes.

   14             THE COURT·:    Who -- who in the Marshals Service did

   15    that?

   16             CHIEF DEPUTY HOUGHTALING:       It was the U.S. Marshal for

   17    the District and I believe in consultation with our

   18    headquarters.

   19             THE COURT:    Without any consultation with the Court?

   20             CHIEF DEPUTY HOUGHTALING:       No, Your Honor.   I did

   21    attempt to call Ms. Paepke earlier and she advised you were ih

   22    court.   But based on -- based on the exclusion, we don't have

   23    much of a choice.      We cannot t:.afe1y move forward with the court

   24    proceedings, Judge, at this point,
   25             THE COURT:    Are you aware of the £act that the Marshal



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    1    sent me an email probably two weeks ago inquiring what the

    2    policy was and I emailed him back and told him that no

    3    employees, including U.S. marshals, who wei.:;e not vaccinated

    4    fully vaccinated would be     in the courtroom or my chambers.
    5             CHIEF DEPUTY HOUGl{TALlNG~     I am aware, Judge, yes.      The

    6    Marshals Service, I could tell you, has taken a position and

    7    responded to Chief Judge Lange this morning that the Marshals

    8    Service employees do not have to disclose their vaccination

    9    status to third parties, including the Court.

   10             Thatrs the position of the Marshals Service at the

   11    nationa.1 level, which was -- which came in response to Judge

   12    Lange's letter that he sent last week, Judge, which I think

   13    you're familiar with.

   14             THE COURT:   Yes.    Well --

   15             CHIEF DEPUTY HOUGHTALING:      So our headquarters

   16    responded today with the guidance that Marshals Service

   17    personnel do not have to give their vaccination .status to third

   18    parties, including the federal judiciary.

   19             THE COURT:   The Administrative Office of the U.S ..

   20    Courts says that 1 s wrong.    So I guess we have a direct

   21    confrontation between the Marshals Service and the

   22    Administrative Office, as well as all of the federal judges in

   23    South Dakota.
   24             CHIEF DEPUTY HOUGHTALING:      Right, Judge.   That's the

   25    last thing -- the absolute last thing I would wish for.



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    1             T.HE COURT:    What was that again?

    2             CHIEF DEPUTY HOUGHTALING:        I said which is the absolute

    3    last thing I would wish for, Judge.
    4             THE COURT:     Well, I'm sure.

    5             Wellr this is goin9 to, come to a head either one way or

    6    the other.

    7             CHIEF DEPUTY HOUGHTALING:        Yes, sir.

    8             THE COURT:      I don't know whether to cite you or the

    9    Marshal or both.
   10             CHIEF DEPUTY HOUGHTALING:        I would prefer neither.

   11             THE COURT:      I'm sure you would.

   12             CHIEF DEPUTY HOUGHTALING:        You know, Judge, we have to

   13    act -in accordance with our policy.        As I indicated, this is not

   14    something that -- I don I t like this at all.         I dor:i' t enjoy it,

   15    but we can't not have a deputy marshal in the courtroom for

   16    court proceedings   ~   · It flies in the face of our policy.       It

   17    doesn't meet the safety requirements, as our ultimate goal is

   18    to ensure the safe production of prisoners in the federal

   19    courtroom, and that's what we strive to do every -- every

   20    hearing and we can•t meet that without a deputy marshal in the.

   21    courtroom based on an exc1usion.
   22             THE COURT:      Okay.   Well, you proceed at your peril in

   23    interfering with court proceedings and that's what you've done.

   24             CHIEF DEPUTY HOUGHTALING:        It's not my intention,

   25    Judge.



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    1            THE COURT:   Well, we have counsel here from both sides

    2    today ready to go.

    3            The first question I'd have is why didn't the Marshal

    4    advi:;le me of this when I told him what the policy was at least

    5    two weeks ago in writing?

    6            CHIEF DEPUTY HOUGHTALING:      Yes, sir.   So the

    7    position -- again, the position of the Marshals Service is the
                                                                                  l
    i3   vaccination status of our employees is something that should

    9    should remain their blJsiness and is       they a:r:,e not -- they

   10    were advised to not share va.ccination status if they do not

   11    feel comfortable doing so based on the position of our agency.·

   12            THE COURTi   My question was, why didn't the Marshal

   13    tell me that tw,o weeks ago?

   14            CHIEF DEPUTY HOUGHTALING:      Because we just received --

   15    we just received the guidance this morning, Jud~e, on the

   16    based on Judge Lange's letter from last week, we received the

   17    guidance this morning from chief of staff, who r$sponded to

   18    Judge Lange.

   19            So the first I had read of it was this morning when

   20    Judge Lange received it, I believe, or shortly thereafter.

   21            THE COURT:   Qkay.

   22            CHIEF DEPUTY HOUGHTALING:      But that being said, I can

   23    certainly visit with the Marshal.      Unless there is a -- a

   24    change in the position of the Court to facilitate hearings this

   25    afternoon with the staff we have available, I don't know -- I



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    1        d.on't know where we go from here.

    2                THE :COURT:   Are you saying that you will not produce

    3        the prisoners for the hearings set for tomorrow?

    4                CHIEF DEPUTY HOUGHTALING:      Well, the prob,lem, Judge, is
    5        the staff that is up there today is the staff that was goihg

    6        to -- were scheduled to staff tomorrow's court as they were

    7        going to _overnight in Aberdeen.     .It's the same staff~   So if

    8        they are excluded, then I don 1 t believe -- we don't have any

    9        other way of staffing the court, Judge.

   10                THE COURT:    Yes or no, axe you going to produce the

   11        prisoners tomorrow or not?

   12                CHIEF DEPUTY HOUGHTALING:      I will have to visit with

   13        some other people before I can completely answer that, but I

   14        can tell you, based on whire I believe we are at now with

   15        staffing, that the two deputies that are in Aberdeen today are

   16        the two that are scheduled to staff court tomorrow morning~

   17        But if I send other deputies, I don't think that solves the

   18        problem, Judge.

   19                THE COURT:    It does if they've been fully vaccinated~

   20        They can twiddle their thumbs in Sioux Falls if they want to, I

   21        don't care, but they're not coming into the courtroom here or

   2.2       into my chambers.

   23                CHIEF DEPUTY HOUGHTALING:      Well, we circle back then to

   24    1
             the underlying vaccination status· question.     The Ma:t$hals

   25        Service has taken the position that Marshals Service employees



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     1    do not have to provide their vaccination status to the court.

     2    So I think we're -- we end·up in this same stalemate~         If there

     3    are other -- even if there are othe~ deputies and they don't

     4    reveal their vaccination status, then we are right back to

     5    square on~~

     6               THE COURT:   You're saying that you have the authority

     7    to decide whether an employee is going to disclose that?          How

     8    does that become your right as the employer?

     9               qnEF DEPUTY HOUGHTALING:     No,   Your Honor.   I believe

    10    I'm saying that the individual has the right whether they want

    11    to disclose that.       In :fact, I don't know which of our employees

    12    have been vaccinated or not vaccinated.

    13               THE COURT:   Okay.   I'd like some kind of a definitive

    14    answer as to whether or not you•re going to p;roduce the

   . 15   prisoners tomorrow so we can have these hearings, which have

    16    been previously ordered by the Court.

    17               CHIEF DEPUTY HOUGHTALING:    Yes, Your Honor.

    18               THE COURT:    You're tying up a lot of lawyers as well

    19    aa well c:1.s the court personnel and keeping· people in custody

    20    longer than they should be probably.

    21               All right.   Well, I will deal with it.     Thank you for

    22    calling,

    23               CHIEF DEPUTY HOUGHTALING:    Yes, sir.    I provided Barb

    24    with my cell phone number if you need to visit and I will be in

    25    touch with any updates that I have as I receive them.



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    1              THE COURT:      Yeah, you can call my office any time, of

    2    course.

     3                CHIEF DEPUTY HOUGHTALING:     Yes, sir.    Thanks, Judge.

     4                THE COURT:   All right.   Thank you.

     5                CHIEF DEPUTY HOUGHTALING:     Thank you.

     6                (Phone call ended.}

     7                THE COURT:   Well, you. may have some extra business, Mr.

     8   Maher.
     9                MR. MAHER:   l under;;tand.   I knew, as cth officer of the

    10    court and a member of federal bar, that when you asked about my

    11   vaccination status if I was going to be appearing here that              r
    12    was in a unique situation and quickly decided on April 7th to

    13    inform the Court that I was vaccinated so I didn ''t run into a

    14    log. jam.

    15                After we did the 12:30.hearing today, I thought it was

    16    going to be clear sailing and ~e were going to handle all of

    17    the court.      I'm kind of flummoxed right now and I'm not

    18    understanding how we can't get some of these peopte into court

    19    and resolve their cases with their attorneys, including Mr.

    20    Reed, who I believe drove here from Sioux Falls.

    21                THE COURT:   Yes, that's true.    lt'a, if n.<;>thing else,

    22    highly discourteous.       Contempt of court, probably.

    23                As I stated in the conversation with Mr. Houghtaling,

    24    the Admi~istrative Office of the United States Cburt said there

    25    is no basis for any Marshals Servicff employee to refuse to



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     1   disclose whether or not they have been vaccinated .      Now, what

     2   the consequence s of that might be is an entirely different
     3   matter.
     4               SKYLER GALLIMORE;   Excuse me, Judge.

     5             One possibility , Judge, Barb and I just discussed is we
     6    could put the defendants in the video conference room

     7    downstairs.

     8               THE COURT:   You can do what, I'm sorry?

     9               SKYLER GALLIMORE:   We can put·the defendants in the

    10    video conference room downstairs and they could appear by video
    11    from somewhere else irt the courthouse.

    12               THE COURT!   Well, even if they're -- who are they in

    13    custody with then?

    14               SKYLER GALLIMORE:   Oh, the marshals, they just wouldn't

    15    be in the courtroom.      They would also b~ with the defendant

    16    downstairs.

    17               THE COURT:   Yeah, okay.   Well, I wouldnrt have any

    18    objection to that.      I'm not trying to make things difficult for

    19    anybody.     But. I'm going to make sure that the courts run the

    20    courts, not the Marshals Service or some bureaucrcit from
    21    Washington, D.G.
    22               I have not talked with Judge Lange about this or Judge
    23    Piersol or Judge Schreier or Judge Viken.       But we have a

    24    conference call set for tomorrow night and I am absolutely
    25    positive that all the judges are going to agree that this is



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    1    the way it's going to work.        If you're not vaccinated, you

     2   don't come in the courtroom and you don't come into chambers.

     3            Whether we can do that or not, if they want to find out

     4   from the Court of A:i;:>pei;ils, we'll give them a map to St. Louis.

     5            MR. MAHER:     Your Honor, I'm just trying to figure out

     6   what cases we can work through right now.        I see both attorneys

     7   are here on the 4 o'clock case.        I don 1 t J<now if Marilyn Holley

     8   is present.
     9            MR. TURNER;     She is.    I need a little time to work with

    10   her.    I wasn 1 t expecting to have that until 4.

    11             I will tell you that she traveled with someone and the

    12   person she traveled with has been vaccinated; my client has not

    13    yet.   But Texas is a little different than South Dakota.
    14             THE COURT:    Yes, for sure.    Well, not much though.

    15             MR. TURNER:    But I want the Court to be aware of that.

    16    I meanr she had no idea that -- I mean, I don 1 t know if she

    17    could. have gotten it by now or not.
    18             THE CLERK:    We I re going to get Steve Houghtaling ba.ck

    19    on the phone.

    20             And Judge, I did ask him if he would be agreeable to

    21   having the marshals bring the defendants down to third floor to

    22    the video conference room.
    23             THE COURT:    Right.~

    24             THE CLERK:    And he said yes, he thought so.      So we'll

    25    get him back on the phone.



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    ·1            THE COURT:   Okay.
    ·2            (Phone call to Chiei Deputy United States Marshal Steve
     3   Houghtaling made. )
     4            SKYLER GALLIMORE:    Are you with us, Steve?

     5            CHIEF .DEPUTY HOUGHTALING:    Yes, I'm with you.

     6           /THE COURT:   Skyler, why don't. you tell him what you

     7   have proposed ..
     8            SKYLER GALLIMORE:    Yes, sir,

     9            So we have video conference capability in the third
    10    floor of the courthouse and so we were thinking we could have

    11    the defendants with the marshals down in another room far away
    12    from the courtroom and then we could appear --- have the
    13    defendants. appear by video --
    14            THE COURT:   With their consent.

    15            SKYLER GALLIMORE:    Are you still with us, Steve?

    16            CftIEF DEPUTY HO0GHTA.LING:   r•rn sorry.   Can you hear me?

    17            SKYLER GALLIMORE:    No, we couldn't hear you;      If you

    18    had responded, we could not hear you.
    19            CHIEF DEPUTY HOUGHTALING:     Oh, okay.     I apologize.

    20            Is the question whether the Marshals Service can
    21    accommodate a third floor appearance?

    22            THE COURT:   Yes.

    23            CHIEF DEPUTY HOUGHTALING:     Yee, I believe that is a

    24    workable solution.
    25            THE COURT:   Not a permanent one, but a partial solution



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     1    at this time.

     2             CHIEF DEPUTY HOUGHTALING:    Yes,   Judge,   I   agree,~

     3             THE COURT:   I mean, this is going to be a major

     4    confrontation.   So stand by for a ram.      And if the Court of

     5    Appeals says I'm wrong, it wouldn't be the first time.

     6             CHIEF DEPUTY HOUGHTALING:    That's right, Judge.          I

     7    recall often you saying that you 1 re not wrong 1Jntil the Eighth

     8    Circuit tells you you 1 re wrong.

     9             THE COURT:   That's right.

    10             CHIEF DEPUTY HOUGHTALING:    But,   :C -- Judge, I     just want

    11    to be so clear, this is not something I want or the agency
    12    wants.   !·mean, we're just between a rock and a hard place.            I

    1.3   do not want confrontation.    In fact, I want the opposite of

    14    that.    I wan;t -- would prefer the relationship that we have

    15    enjoyed over the years instead of this.

    16             THE COURT:   I understand.   And I 1 m   not looking for a

    17    confrontation either, of course, but that's what I have here.

    18             As I told yqµ, the Adminif;ttrativE;; Office of the United

    1.9   States Courts -- they don't run the courts, of course, but

    20    these are bureaucrats in Washington, D.C. -- have told the

    21    District Judges that the Mal;'shals service has no authority to

    22    order or to allow employees to not disclose whether or not they

    23    have heeh fully vaccinated.    The Administrative Office says

    2,4   employees have no right to decline to answer such a que~tion.

    25    So that's their opinion, which is completely contrary



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     1    apparently to somebody from the Marshals Service.

     2            CHIEF DEPUTY HOUGHTALING:       Yes, sir.     Yep.   And my -- I

     3    maybe have misspoken so I don't want to be held to this, but my

     4    understanding of the AOUSC guidance is that applies to court

     5    staff members, Judge, members of the jud·icial branch, but not

     6    to the Marsh~ls Sel:.:vice or the Department of Justice as a

     7    whole-.... U.S. Attorney's Office, and otherwise.

     8            THE COURT:     I don 1 t believe that's correct.        I have the

     .~   document some place.

    10            THE CLERK:     Steve, is it possible to .get the defendants

    11    for this afternoon back to the federal building?

    12            CHIEF DEPUTY HOUGHTALING:       )'.'es, I can make some phone

   13     calls as soon as I hang up.

    14            THE CLERK:     Okay.   Thank you ..

    15             CHIEF DEPUTY HOUGHTALING:      'Okay.   Does that -- is that

    16    the plan then to get them there and proceed with court on the

    17    third floor?

    18             THE COURT:    Yes, as a temporary basis.

    19             CHIEF DEPUTY HOUGHTALING:      Yes, Judge.     Okay.     Thank

    20    you, I will

    21.            THE COURT:    Thank you,

    22             CHIEF DEPUTY HOUGHTALING:      -- make some calls right

    23    now.   Thanks.
    24

    25



                                 CONNIE H~CI<EN!JAIBLE, RPB.
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     1            THE COURT:     Tim, you should make sure that -- is Dennis

     2   the Acting U.S. Attorney, I think, isn't he?

     3            MR. MAHER:     Yes.

     4            THE COURT:     That he's aware of what's· going on here.
     5    I'm sure he will be.
     6            MR. MAHER:     I   will inform him today c:1,-s soon as I get to

     7   my phone across the street.

     8            MR. TORNER:        I can certainly let you borrow a phone

     9   between here.
    10            (Conclusion of Bea.ring.)

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                                 CONNIE HECKENLAIBLE, RPR
